Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 1 of 31 PageID 518




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

  LUKE NGUYEN,

           Plaintiff,

  v.                                              Case No.: 3:21-cv-00173-MMH-MCR

  UNIVERSITY OF ST. AUGUSTINE
  FOR HEALTH SCIENCES, LLC,

        Defendant.
  _________________________________/

                    DECLARATION OF DR. MARGARET WICINSKI

           I, Dr. Margaret Wicinski, pursuant to the provisions of 28 U.S.C. § 1746, hereby

  declare as follows:

           1.     I am over the age of eighteen. The facts stated in this Declaration are

  true of my personal knowledge and I could and would competently testify thereto if

  called upon to do so.

           2.     I am currently employed by the University of St. Augustine for Health

  Sciences (“USA”) as the Assistant Program Director, Resident Doctor of Physical

  Therapy Program and an Associate Professor.

           3.      During Luke Nguyen’s (“Nguyen”) enrollment in Summer 2016

  through his dismissal in January 2019, I was employed by USA as an Assistant

  Professor in USA’s Flex Doctor of Physical Therapy (“Flex DPT”) Program.




  {00409646 1 }
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 2 of 31 PageID 519




           4.     I taught Nguyen in General Therapeutic Exercise and Musculoskeletal I:

  Orthopedics during the Spring 2018 and Musculoskeletal II: Mock Clinic (“Mock

  Clinic”) during the Fall 2018 semester.

           5.     In Spring 2018, Nguyen had to retake practical exams in Musculoskeletal

  I: Orthopedics.

           6.     Even though Nguyen passed General Therapeutic Exercise with a “C”,

  I had concerns about his written exam performance and his lack of foundational

  knowledge. I was concerned he would have difficulty being successful in future

  courses.

           7.     I expressed my concerns to Nguyen. Attached hereto as Exhibit A is a

  true and correct copy of the email exchange between me and Nguyen.

           8.     In Fall 2018, the Mock Clinic course was a cumulative course that

  consisted of unit assignments worth 15% of the final grade, a midterm worth 25% of

  the final grade, final examination worth 30% of the final grade, and final

  documentation (or “Plan of Care”) worth 30% of the final grade. No extra credit points

  were awarded in Mock Clinic.

           9.     Attached hereto as Exhibit B is a true and correct copy of the Fall 2018

  Mock Clinic Syllabus.

           10.    The Mock Clinic course integrated the theory and practice of

  examination of the physical therapy patients with a musculoskeletal diagnosis.

  Students were taught history taking during patient interviews and measurements

  utilizing the 18 steps of a musculoskeletal examination. From the information

  {00409646 1 }
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 3 of 31 PageID 520




  gathered through mock interviews and physical examinations, students exercised

  diagnostic skills, clinical reasoning, practiced prognostic and intervention prescribing

  skills, and documented impairment lists, long-term and short-term goals, and

  intervention plans.

           11.    This course built upon examination techniques learned in previous

  courses including, Physical Therapy Skills & Procedures, Therapeutic Exercise I, and

  Musculoskeletal I, Anatomy, Biomechanics, Pathology, Massage, and Physical

  Modalities.

           12.    For the Mock Clinic midterm, students performed a practical

  examination and then prepared a written Plan of Care document based on information

  obtained during practical examination; however, only the written portion of the

  examination is graded.

           13.    The Mock Clinic midterm is not a “practical examination” because only

  the written portion was graded. USA’s policies do not permit students to retake the

  Mock Clinic midterm regardless of the student’s grade.

           14.    Nguyen received a grade of 29% on his midterm.

           15.    In Fall 2018, the Mock Clinic final exam was a practical exam that

  consisted of two parts: a practical examination portion and a written documentation

  portion called a “Plan of Care.” The examination portion is a physical evaluation of

  a hypothetical patient. The Plan of Care is documentation written based on the

  objective data collected during the practical examination portion of the examination




  {00409646 1 }
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 4 of 31 PageID 521




  in which the student is required to document, analyze, summarize, and evaluate the

  hypothetical patient’s recovery plan.

           16.    The Mock Clinic final exam is a timed exam in which students are

  permitted to have a maximum of 45 minutes to complete the examination portion and

  a maximum of 80 minutes to complete the Plan of Care. Students are permitted an

  extra five (5) minutes to complete each portion but lose credit for not completing the

  section within the allotted time. Students are required to move directly from the

  examination to writing the Plan of Care, following a short restroom and/or water

  break, to mimic real life clinical experiences.

           17.    It is an essential requirement of the Mock Clinic course for students to

  prepare the Plan of Care immediately following the examination because it mimics the

  expectation in the clinic of a student physical therapist to obtain objective data from

  patient’s examination and then clinically reason through this information to develop

  a clinical impression, prognosis, goals, interventions and a discharge plan.

           18.    Both the practical and documentation portions of the Mock Clinic final

  exam must be passed individually at an 80% competency level. Those scoring less than

  80% were required to repeat that portion of the final. If a student earned less than 80%

  on the examination portion the student likewise received an F for the practical

  examination. Each section of the Mock Clinic final was scored separately, and a

  student was required to earn an 80% on each section to pass the final exam.

           19.    Attached hereto as Exhibit C, is a true and correct copy of the Instructor

  Academic Appeal Report (“Report”) that I completed on December 20, 2018 in


  {00409646 1 }
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 5 of 31 PageID 522




  response to Nguyen’s appeal of his dismissal from USA. The Report accurately

  reflects the grades earned by Nguyen in Mock Clinic. The Report further accurately

  reflects the discussions I had with Nguyen during the Fall 2018 semester relating to his

  performance in Mock Clinic.

           20.    The Mock Clinic final exam was held on December 1, 2018. Nguyen

  requested to postpone the exam and his request was approved.

           21.    Nguyen took his Mock Clinic final exam on December 8, 2018.

           22.    At the time of the Mock Clinic final exam, Nguyen had a grade of 65.5%

  on his unit assignments and a 29% on the midterm. As a result, Nguyen had to earn

  a minimum final grade of 87.4% on the Mock Clinic final exam to pass the course.

           23.    After Nguyen completed the examination portion of his Mock Clinic

  final exam, he asked for his score. When Nguyen found out he did not pass the

  examination portion of the Mock Clinic final, he chose not to write the Plan of Care.

           24.    Nguyen received a grade of 74% on the on the examination portion of

  the Mock Clinic final exam.

           25.    Nguyen did not complete the Plan of Care and, therefore, earned a grade

  of 0%.

           26.    Nguyen failed the Mock Clinic final.

           27.    Nguyen received a final grade of “F” in Mock Clinic.

           28.    If Nguyen had been permitted to retake the Mock Clinic final exam after

  not completing it, he would have been required to retake both sections. The highest

  grade Nguyen could have earned on each portion of the exam was a 75%.


  {00409646 1 }
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 6 of 31 PageID 523




           29.    Nguyen had the following grades in Mock Clinic in Fall 2018:

  Assignments (65.5%) and Midterm (29%). Unit assignments were worth 15% of the

  grade, the midterm was worth 25% of the grade, and the final examination portion

  was worth 30% of the grade, and the Plan of Care was worth 30% of the grade

  (therefore the Mock Clinic final exam was worth 60% of the grade).

           30.    Nguyen’s final grade would have been calculated in the following

  manner: (65.5 x 15%) + (29 x 25%) + (examination portion x 30%) + (Plan of Care x

  30%).

      • Because Nguyen scored a 74% on the examination portion (not passing), if he
        finished the exam and scored a perfect score (100%) on the Plan of Care,
        Nguyen’s final grade for the Mock Clinic course would have been: 47%.

      • If Nguyen had been permitted to retake the Mock Clinic final, the highest grade
        he could have received was 75% and his final grade for Mock Clinic course
        would have been: 62%.

           31.    A student must have a final grade of 70% to pass Mock Clinic. Therefore,

  neither of the foregoing grades would have allowed Nguyen pass the Mock Clinic

  course.

           32.    Nguyen never requested to retake the Mock Clinic final and never

  submitted a remediation plan for my approval to retake the Mock Clinic final exam.

           33.    Nguyen    never   provided   documentation     from   the   university’s

  Accommodations Department for any alleged disability to me in General Therapeutic

  Exercise, Orthopedics or Mock Clinic.

           34.    The Fall 2018 Mock Clinic syllabus provided instructions for students

  regarding how to request accommodations for the course. The syllabus states,

  {00409646 1 }
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 7 of 31 PageID 524




           SPECIAL NEEDS AND CONSIDERATION: The University of St.
           Augustine for Health Sciences is committed to providing students with
           disabilities equal access to all its programs and services. To register with
           Disability Services and request accommodations for a disability, contact staff
           at disabilitv@usa.edu. Accommodations are determined, on a case-by-case
           basis, by the Director of Disability Services after review of medical
           documentation.
  I declare under penalty of perjury under the laws of the United States of America that

  the foregoing is true and correct.



           Executed on August ___,
                              7 2022 in St. John’s County, Florida.


                                                                               Digitally signed by Margaret Wicinski,
                                                       Margaret Wicinski,      PT, DPT, EdD
                                                                               DN: cn=Margaret Wicinski, PT, DPT,
                                                       PT, DPT, EdD            EdD, email=mwicinski@usa.edu, c=US
                                                                               Date: 2022.08.07 20:24:16 -04'00'


                                                             DR. MARGARET WICINSKI




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Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 8 of 31 PageID 525




                        Exhibit A
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 9 of 31 PageID 526




From:                               Margaret Wicinski
Sent:                               Tuesday, May 8, 2018 8:04 PM
To:                                 Luke Nguyen
Subject:                            Re: Reaching out


Luke:
Thank you for your receptive email. I hope your break was restful. As questions arise, please email me.

Dr. Wicinski

Margaret Wicinski, PT, DPT
Assistant Professor - Florida Flex Program
University of St. Augustine for Health Science
904.770.3594 ( direct dial )
904.826.0084 x 1294
mwicinski @ usa.edu


From: Luke Nguyen <l.nguyen4@ usa.edu>
Sent: Thursday, April 26, 2018 7 :32:16 PM
To: Margaret Wicinski
                                                                               IDEFENDANTS
                                                                               ' £ EXHIBIT NO.     /
Subject: Re: Reaching out

Dr. Wicinski,
                                                                              I DAT*             RPTR:/f

Thank you for reaching out to me and I agree with your assessment. I may have passed the class, but I am unsatisfied
with how I performed on the written exams and on the written assignments. I will be taking your advice from an earlier
e-mail to re - examine units 1-6 in regards to program design and exercise prescription ( which is interesting since I walked
into the term fearing that a lack of anatomy would be my main weakness ).

I am looking forward to starting the next term with a running start and have already scheduled time in the next few
weeks to address my weaknsses. If I have questions regarding anything, would it be appropriate to send during the
break or would you prefer I hold my questions until the start of the next term?

Respectfully,

Luke Nguyen, SPT

Get Outlook for iOS

From: Margaret Wicinski
Sent: Thursday, April 26, 2018 5 :47:57 PM
To: Luke Nguyen
Subject: Reaching out

Luke:
I just wanted to reach out to you at the end of TherEx 1 to express concern with your written exam performance.



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                                                                                                       USA/Nguyen 001052
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 10 of 31 PageID 527


While you passed the course based on the syllabus, I see that some foundational knowledge may be lacking. This may
pose some difficulty in future terms,
I wanted to bring this to your attention so you can plan for success !
You may need to review the material from this course when applying it to future courses.
I encourage you to reach out at the beginning of next term with any questions or concerns.

Dr. Wicinski



Margaret Wicinski, PT, DPT, EdD
Board-Certified Clinical Specialist in Orthopaedic Physical Therapy
Fellow of the American Academy of Orthopaedic Manual Physical Therapists
Assistant Professor - Florida Flex Program
University of St Augustine for Health Science
904.770.3594 (direct dial )
904.826.0084 x 1294
mwicinski(5) usa.edu

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Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 11 of 31 PageID 528




                         Exhibit B
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        Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 12 of 31 PageID 529
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                                        UNIVER SITY                 OF     ST. AUGUS TINE
                                           F O R         H E A L T H              S C I E N C E S



                                                              FALL 2018
        NAME OF COURSE: MUSCULOSKELETAL II: MOCK CLINIC
        COURSE NUMBER: 5133 C-001
        TOTAL CREDIT HOURS: LECTURE/ONLINE CREDIT HOURS:1 LAB CREDIT HOURS: 2
        CREDIT HOURS: 3
        CAMPUS: FL
        DELIVERY METHOD: BLENDED
        PROGRAM(S): FLEX DPT                                                                                  DEFENDANT’S
        START DATE: THURSDAY, SEPTEMBER 6, 2018                                                                            Ll^
        END DATES: WEDNESDAY, DECEMBER 19, 2018                                                               EXHIBIT NO..
                                                                                                                  FOR IDENTIFICATION
                                                                                                            1 b'Mfo            RPTR: K
        ONLINE FACULTY:                                                                                     S DATE:
                                                                                                             a.
                                                                                                                                         f
        Margaret Wicinski, PT, DPT, EdD, OCS, MTC, PCC, FAAOMPT
        Email: mwicinski@usa.edu
                                               -
        Office phone: 904-826-0084 EXT 1294 email is the BEST way to contact the instructor
        Office Hours: Tuesdays 3:15 - 4:15pm; Fridays 12:00 noon - 1:00 pm
                                                          .
                Other times are available by appointment Appointments are strongly recommended.

        LEAD LAB FACULTY:
        Paige Schreiner, PT, DPT
        ischreiner @usa.edu

        LAB ASSISTANTS:
        Bryan Olson, PT, DPT
        Jennifer Baringer PT, DPT


        When contacting your faculty, be sure to use your usa.edu email address as faculty are not permitted to communicate
        with you through another email service.


        ABOUT YOUR INSTRUCTOR
        Dr. Margaret Wicinski earned her BA in Biology in 2000 from University of Louisville in Kentucky. In 2002, she received
        her doctor of physical therapy degree from University of Saint Augustine for Health Sciences (USA). After graduating from
        physical therapy school, Dr. Wicinski returned to the Louisville area and began working in a private outpatient orthopaedic
        clinic and at a Level I Trauma Center. She completed her Manual Therapy Certification in 2003 and her Primary Care
        Certification in 2004 through the University of Saint Augustine. Dr. Wicinski also completed her Manual Therapy
        Fellowship through USA and in 2007 and became a Fellow of the American Academy of Orthopaedic Manual Physical
        Therapists. After 7 years of patient care, Dr. Wicinski moved to San Diego to teach at the University of Saint Augustine -
        San Marcos campus primarily focusing in the Musculoskeletal Curriculum.
        In summer of 2012, Dr. Wicinski relocated to St. Augustine, FL to teach full time in the Physical Therapy Flex Program.
         In addition, Dr. Wicinski is an active member of the Florida Physical Therapy Association, American Physical Therapy
                                                                              .
        Association and American Academy of Orthopaedic Manual Therapists She has assumed roles within professional
        organizations, including By-Laws Chairperson for the Kentucky Physical Therapy Association as well as California Physical
        Therapy Association - San Diego District Representative.



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Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 13 of 31 PageID 530


Course Information:

COURSE DESCRIPTION:
This course will integrate the theory and practice of examination of the physical therapy patients with a musculoskeletal
         .
diagnosis Through the use of a "Mock Clinic", the student will learn and practice history taking during patient interviews
                                                                                              .
and practice tests and measurements utilizing the 18 steps of a musculoskeletal examination This course will build upon
examination techniques learned in Physical Therapy Skills & Procedures, Therapeutic ExerciseI, and Musculoskeletal I. In
addition, this course will include application of material taught in Anatomy, Biomechanics, Pathology, Massage, and
                  .
Physical Modalities From the information gathered in the interview and physical examination, the student will exercise
diagnostic skills, practice prognostic and intervention prescribing skills, and document impairment lists, long -term and
short-term goals, and intervention plans.

COURSE PREREQUISITES:
Practicum I, Biomechanics, Pathology, Musculoskeletal I, General Therapeutic Exercise I, Physical Modalities and
Integumentary

COURSE LEARNING OUTCOMES:
At the completion of Musculoskeletal II, students will be able to demonstrate the ability to:
            Course Learning Outcome #1:
            Conduct themselves in a manner that shows respect towards patients, time management, preparedness and
            documentation timeliness. (ILO # 5/ PLO # 5)
                     1.1 Display appropriate professional behavior inside and outside of the classroom experience
                     1.2 Participate in peer assessment activities to include providing verbal and written feedback to
                               classmates regarding their practical performance of a physical therapy examination.
            Course Learning Outcome # 2:
           Self evaluate strengths and weaknesses that leads to formation of questions, evaluation of resources and
                                             .
           independence in seeking answers (ILO # 7/ PLO # 7)
                     2.1 Express emotions regarding self-assessment and ability to recall and apply practical knowledge
                               from previous semesters to mock physical therapy examinations and evaluations  .
                     2.2 Express one's areas of strength and areas that need improvement regarding competence at
                               performing and documenting a physical therapy examination and evaluation.
                     2.3 Appreciate the value of constructive feedback in the development of professional skills.
           Course Learning Outcome # 3:
           Adapt level of communication to meet the needs of the patient when completing a subject history.
           (ILO # 4/ PLO # 4)
                     3.1 Exhibit appropriate interpersonal and communication skills in performing the patient interview
                    considering multicultural issues
           Course Learning Outcome # 4: Perform a comprehensive musculoskeletal examination. (ILO# 3/ PLO #3,
           ILO # 7, PLO# 7)
                    4.1 Describe and perform the components of the patient interview  .
                    4.2 Demonstrate appropriate physical assessment techniques as determined by the interview
                              findings.
                    4.3 Modify an examination based upon physical assessment findings     .
                    4.4 Perform a safe and comprehensive patient examination in an organized and timely manner with
                              80% competency .
                    4.5 Employ early hypothesis generation and hypothesis testing in a musculoskeletal patient
                              examination.
                    4.6 Demonstrate clinical decision making skills by providing rationale for clinical reasoning.
           Course Learning Outcome # 5: Determine clinical impression, rehab diagnosis, impairments and
                                                                  .
           prognosis through the clinical decision making process (ILO # 3/ PLO #3; ILO # 2/ PLO # 2; ILO # 7/ PLO # 7)
                    5.1 Identify neuro-musculo-skeletal impairments (dysfunctions) and begin formulating a physical
                              therapy diagnosis based on the information obtained from the history, signs, symptoms, and
                                .
                              tests
                    5.2 Integrate the information gathered in the interview and physical examination to formulate a
                              impairment list, functional limitations, diagnosis(es), prognosis, long term and short term
                              goals, intervention plan, and discharge plan

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Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 14 of 31 PageID 531


                               5.3 Independently complete efficient and accurate documentation of the examination and evaluation
                                       with 80% competency.
                               5.4 Recognize basic signs and symptoms that are beyond the expertise of the physical therapist and
                                       make the appropriate referral.
                               5.5 Discuss valid and reliable outcome measures considering various practice setting's including,
                                       outpatient, acute care and extended care settings.
                               5.6 Select valid and reliable outcome measures considering various practice setting's including,
                                       outpatient, acute care and extended care settings
                               5.7 Analyze and interpret outcome measures as applied to selected patient cases, at various levels of
                                       the ICF model for assessment and measurement of patient progress.

 CREDIT HOUR DEFINED: According to the US Department of Education's Definition of Credit Hour, one contact hour
 of instruction (academic engagement) and two additional hours of student work (preparatory work) must occur for every
 credit hour in a 15 week course. The following table is a guideline for anticipated hours for this laboratory class.



Activity Y


Online Academic
Engagement
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                   X .i )



                              —
                            Lecture/ Online Credit Hours: 1
                                    -'-. x/.ds
                                                      Assignments

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                                                                                             Lab Credit Hours: 2

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                                                      Asynchronous instruction (interacting with course
                                                      materials such as accessing recorded lectures, videos,
                                                      etc. )
                                                      Asynchronous activities (forum discussions, etc. )
                                                                                                                     Estimated hours for the
                                                                                                                     average student for the
                                                                                                                   lentire course time
                                                                                                                                15


                                                                                                                                      5
                                                      Synchronous instruction ( live chats, use of                                    2
                                                      collaborate, skype)
                                                      Assessment Activities ( assignments, quizzes and                                9
                                                      exams)
Face- to-Face Academic                                Faculty/ student synchronous physical interaction                               0
Engagement
                                                  Total                                                            msmm.                            31
Lab Engagement
                                                      Laboratory Attendance                                                          44
                                                      Mid-term and final exam                                                        7.5
                                                  Total              Mm                                                                        51.5
                                                  Total Academinc Engagement                                       Ifjll&llISfllfl             82.5
Student Preparation                               Required reading: 30 pages per hour                                                 20
(outside of class)                                Required reading, difficult reading level: 25 pages per                             20
                                                  hour
                                                  Preparing assignments                                                               30
                                                  Studying for quizzes, exams, practicals                                             20
                                                  Reflection or journaling
                                                  Other [ describe]
             0.4
             •
                                          :       Total Preparation
                                                 is
                                                                                                                                                90
                                                                                                                                            WmMSi
Overall Total                  §§u  ...                                                                                                      172.5
                                                                             ;




UNIVERSITY ASSESSMENT
With the goal of continuous improvement of the achievement of student learning outcomes, USAHS conducts
assessments of achievement of program and institutional learning outcomes, in addition to course outcomes.
Student work is used in aggregate and anonymously as the basis of these assessments, and the work you do
in this course may be used in these assessment efforts.
                                                                                                                                                         3

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Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 15 of 31 PageID 532




REQUIRED TEXT and RESOURCES:
The required texts are listed below. Each book listed was required for a previous course in the curriculum.

    •   APTA. Guide to Physical Therapist Practice 3.0. 2014. Available at http: //quidetoptpractice.apta.org /         .
    •   Kendall FP, McCreary EK, Provance PG, Rodgers MM, Romani WA. Muscles Testing and Function 5 th ed.
        Baltimore, MD: Williams and Wilkins, 2005.
    •                                                                                          .
        Kisner C, Colby LA. Therapeutic Exercise: Foundations and Techniques. 7th Ed Philadelphia, PA: FA
        Davis Co. 2018.
    •   Norkin CC, White DJ. Measurement of Joint Motion: A Guide to Goniometry, 4th Ed. Philadelphia: F. A.
        Davis Company, 2009.
    •   Patla CE, Paris SV, E -1 Course Notes, Extremity Evaluation and Manipulation. St. Augustine FL: IPT,
        2002.
    •   Documentation Resource from Practicum I
    •   Lab assessment tools: Goniometers, wedge, tape measure, blood pressure cuff, stethoscope, reflex
        hammer, gait belt

Recommended Reference:
   • Hertling D, thKessler RM. Management of Common Musculoskeletal Disorders: Physical Therapy Principles and
      Methods. 4 Ed. Philadelphia, PA : Lippincott. 2006.
   • Magee DJ. Orthopedic Physical Assessment. 6th Ed. Philadelphia, PA: W.B. Saunders Co., 2014.

PLEASE NOTE: YOU ARE RESPONSIBLE FOR PURCHASING THE COURSE TEXT(S)

TEACHING METHODS:
This is a student-centered, active learning course. Each week material will be presented online, and assignments will
follow the completion of each unit. During the term, lab sessions will be held for the purpose of reviewing and practicing
examinations for the UE and LE joints, acute care, and spine. Your grade for this course will come from a variety of
assessments. Assessments will include the submission of documentation, completion of quizzes, lab participation,
professionalism, a mid-term exam, and a final practical and accompanying documentation.

TO ACCESS YOUR ONLINE COURSE: After you login to the portal, go to the tab named Blackboard, which is the first
tab to the right of the Home tab. This page will contain an area to log into Blackboard, a link to the Blackboard helpdesk,
and important announcements and tutorials related to Blackboard.

REQUIRED SOFTWARE:
    •   Some courses include PDF files as part of the course materials. To open the PDF-files you need to download
        Acrobat Reader; this software is available free at www.adobe.com    .
    •   Additional hardware and software requirements, as well as options, are available at:
        https:// www.usa.edu/ unit/ technoloQv /

    •                                            .
        This website, http:// whatbrowser.org / will tell you if your browser is up-to-date

For general information about technical support and other requirements, please visit:
https:// my.usa.edu/ICS/ Student_IT_Support jnz (you need to be logged into myUSA for this to work).
                                             .
For technical issues related to Blackboard, please contact the Blackboard Support (SST) at:
-Phone: 855-763-4653
                         .
-Email: USAsupport@USA edu




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Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 16 of 31 PageID 533


 Course Grading:


See student handbook for policies on grading and test review processes.
This is a professional clinical course with a passing requirement of a "C." Your grade will be determined as follows:

Overview of grading percentages:
Unit assignments                                                     15%
Midterm Documentation                                                25%
Final Examination                                                    30%
Final Documentation                                                  30%

Total:                                                               100%

Per policy, no extra credit points will be awarded in this course.

Clinical practical examinations require an 80% passing score. See practical retake policy in the student handbook     .
COURSE REQUIRMENTS:

I. Class preparation and participation:
         You will partner with a classmate for each lab session. One of you will be assigned the role of student -therapist,
         and one of you will be assigned the role of pseudo -patient. Once the first student -therapist has finished his/ her
                                              .
         evaluation, then the roles will switch It is your responsibility to come prepared to assume both roles with
         adequate research completed to understand the condition that you will be asked to simulate.

         With any role-playing scenario, it is necessary that there is a degree of realism, which is sometimes difficult to
         establish, especially when you, as classmates, are so familiar with each other.

     As a student-therapist, prior to lab:
     •  The student must prepare an original, self-made examination form on 1 page of letter size paper (front and back)
         which will be used to record the examination findings (no evaluation information should be included). This will
         include the questions you will ask in your patient interview and the potential tests and measures you will
                  .
         perform Each form must be individually prepared by each student and two copies brought to class. One copy of
         the form will be handed in to the instructor prior to lab. Failure to have this form prepared, or any indication that
         the work was not done individually will lead to loss of points for professionalism. You will use the second copy of
         the exam form to record your data during the examination. You will be required to submit your completed
                                                      .
         documentation on the designated due date The documentation will be typed        .
     • To help assist in establishing your role as a physical therapy clinician, all student-therapists should be in clinical
                                                          .
         attire (i.e. professional dress and lab coats) (i e. professional dress) which includes for men: being clean-
         shaven, dress shirt (tucked in), necktie done up properly, khakis or dress pants, belt, socks and comfortable
         shoes (not sandals or sneakers). For ladies: dress pants of appropriate length (not capris), professional blouse
         or sweater (tucked in), socks and comfortable, low heel shoes (closed-toe). All students are expected to wear a
                                                               .
         lab coat with their name tag during the examination Please refer to your student handbook for appropriate
         clinical attire.

     When acting as a pseudo-patient, you will be given a patient case with an in-depth history and abnormal findings to
     exhibit. In addition to the information given, the student is expected to know about the impairments, functional
     limitations, and disabilities portrayed in the case and enhance the history with reasonable answers. Suggested
                                                                                                                 .
     references include textbooks you have from prior courses, faculty, and the library for additional research The
     patient case that you mimic must be handed in at the end of lab. All "mock" patients are expected to be in standard
     lab attire as indicated in the student handbook.

II. Weekly Documentation:
       Every patient examination you perform will require proper documentation. You will be required to write your
       documentation and submit it for feedback and grading at the designated date and time. Failure to hand
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                                                                                                  USA/Nguyen 000957
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 17 of 31 PageID 534


        documentation in on time will lead to loss of credit for the weekly documentation criterion. All weekly
        documentation must be completed to pass the course.

        Along with each weekly documentation, students will submit a reflective evaluation of one's strengths and areas
        of enhancement in relation to that week's lab performance. Plans to improve the areas of weakness will be
                                                                   .
        listed, and if necessary, discussed with a faculty member Failure to submit a self-reflection will lead to loss of
        credit for the professional behavior criterion. All self- reflections must be complete to pass the course.

III. Examinations:
There are three examinations in this course:
      1. The midterm
             o The midterm mock case evaluation will be documented and the documentation will be submitted for
                 grading according to your online instructor  .
             o The midterm mock case examination will be documented and submitted for grading by 8:00am the
                 following day. The note will be graded according to the Mid-term Note Assessment Criteria Form,
                                                                                                       .
             o The grade will be rounded to the 10th of a percentage point ( for example, 87.6%) A percentage grade
                 will be calculated from this form. The mid-term note will count toward 25% of the final grade
      2. The final practical and plan of care
                                                                                                       .
             o The final practical examination and the final documentation are 2 separate grades Please see the
                                                                                         .
                 schedule for the approximate dates and times of these examinations You must successfully pass the
                 final examinations with an 80% overall score and a 100% with safety in order to pass this course,
             o The final practical examination will be cumulative      .
                      * You will be presented with 6 cases consisting of 3 UE and 3 LE cases, and you will have to
                          randomly choose one of the cases.
                      * You will have 45 minutes to perform a comprehensive examination of the pseudo - patient and
                          explain the results of your examination to the patient.
                          If you are not finished in 45 minutes, you will be permitted five minutes of extra time, but will
                          lose the credit for completing the examination on time.
                      * Following the physical examination, the plan of care will be documented.
                               • Students will be allotted 80 minutes for writing the plan of care.
                                       o If you have not finished the note in 80 minutes, you will be permitted five
                                            minutes of extra time, but will lose the credit for completing the plan of care on
                                           time.
                                       o   Students may be required to bring their personal laptops for the Plan of Care
                                           portion of the examination

             o   The FINAL ASSESSMENT CRITERIA FORM consists of 115 criteria, which will be used to assess your
                 performance. Criteria achieved will be marked with a check. Areas that have not met the competency
                 requirements will be marked "NI" (Needs improvement). If the student did not have the opportunity to
                 demonstrate a certain criterion, the criterion will be marked "NA" (not applicable) and will not be
                 considered for grading purposes.
                                                                                                           .
                         A percentage grade will be calculated from the Final Assessment Criteria Form Both the
                         practical and documentation portions of the final examination must be passed individually at an
                                                    .
                         80% competency level The grade will be rounded to the 10th of a percentage point (for
                         example, 84.3%)    .
                             • A minimum of 80% proficiency is required on all clinically-related practical
                                  examinations. The practical examinations require the student to meet both safety and
                                 technical skill performance competencies.
                                                                                                   .
                             • Safety requirements must be met at a 100% competency level If a student does not
                                  perform in a safe manner the student will receive an F grade for the practical
                                  examination   .
                              •   Those scoring less than 80% will be required to repeat that portion of the final. If the
                                  student earns less than 80% on the technical skill performance the student will likewise
                                  receive an F grade for the practical examination  .
                              •   Any student receiving an NI on a patient safety issue will be required to retake the
                                  practical regardless of his/ her percentage score

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                                                                                                  USA/Nguyen 000958
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 18 of 31 PageID 535


                             •    In either case, the student must retake the practical examination. The student must
                                  meet both safety (100%) and technical skill performance competencies (80%) to pass
                                  the practical re-take. The grade awarded for the 1st re -take practical examination will
                                  be 75%   .
                     *   Each student must complete and demonstrate competency of at least 80% of the criteria
                         observed on the final in both the examination and documentation portions. Any student
                         unable to complete the practical exam up to and including "explains findings,
                         diagnosis, prognosis, and patient responsibilities to the patient" will receive an
                         automatic failure and be required to retake the practical regardless of his / her
                         percentage score.
                         When necessary, a retake exam or note writing (retake) may need to be scheduled outside of
                         class time, or prior to the following term .
                             • The student must still reach the 80% competency to pass the retake, but the
                                  maximum value of the retake is 75%. If the student still does not reach 80%
                                  competency on the retake or 100% safety, he/she will be required to petition the
                                  academic progression committee for approval for a second retake        .
                                      o    A student who receives an F on the retake practical exam may petition the
                                          Academic Progression and Retention Committee (APRC) for permission to take a
                                          second retake practical examination. The student's petition must provide
                                           written rationale supporting his/her request for a second retake examination .
                                          (See appendix 7 Academic Progression and Retention Committee Guidelines to
                                          submit a letter requesting exam retakes for written/practicals/orals) .
                                      o The APRC will review the request and provide a written response to the
                                          Program Director who will render the final decision on the matter. Should the
                                          request for a second retake not be granted, or if it was granted and the student
                                          receives an F on this second retake, the student will receive a D or F for that
                                          clinical course.
                                      o If the student was granted permission for the second retake and the student
                                          passes (100% safety, 80% technical skill performance) the highest grade
                                          awarded on the 2nd retake practical examination is 70%     .
                                                    The second retake will graded by two instructors and videotaped.
                                                • 80% competency for the final examination and documentation is
                                                    required to pass the course.
                                         o If you do not meet the 80% competency on the final retake or the practical
                                              and/ or plan of care, all other scores received during the semester are
                                              considered null and void. You will receive an "F" for the course. A passing
                                              grade for the final examination AND documentation is required to pass the
                                               course.
                                           o   All practical exams must be completed by the date grades are due published
                                               on the academic calendar.
                                           o   For all third attempts at the lab practical examination, there will be two
                                               graders. In addition, the examination will be video taped.
                                       ,   o   Both the final examination and final documentation will count toward 30% of
                                               the course grade each (30% / 30%).
                                           o   Please review the retake policy in the Student Handbook. Communication
                                               with the course instructor and development of a plan is required for a second
                                                                                               .
                                               attempt at the final practical and/or plan of care These activities are time
                                               sensitive and are REQUIRED to follow the time line outlined in the
                                               Student Handbook. If a third attempt is needed for the final practical and/ or
                                               plan of care, additional communication with the course instructor, revision of
                                               your plan and approval from the APRC is required. Review the Student
                                               Handbook for the policy.

See practical retake policy in the student handbook.




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                                                                                                   USA/Nguyen 000959
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 19 of 31 PageID 536


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You can access your final grade and unofficial transcript by logging into my usa.edu on the home page of the website. If you
have misplaced your password that was assigned to you from the registrar's office, please click on 'forgot my password' a new
password will be assigned and emailed to you. No grades are mailed out.


Proctored Exams:
The Musculoskeletal II: Mock Clinic course has one proctored exam at the beginning of the term.

All exams must be proctored. Course instructors will provide ProctorU with the exam date and exam window(s) at the
                       .
beginning of the term There will not be any additional proctor fees for the student unless you register for your exam late
                                   .
or make changes that incur a cost Be sure to register for your exams early to avoid any out of pocket expense.

Visit the ProctorU website at www.proctorU.com to schedule your exam( s) and verify that your computer, testing
                                                            .
environment and internet are compatible with this service We recommend doing this at the beginning of the term to
                                                                                                .
allow students to make any adjustments to their computer, internet or testing environment To avoid delays with starting
                                                                                                    .
the exam with ProctorU, be sure your computer and testing area are prepared and ready to go It is recommended that
you schedule your exam appointment with ProctorU at least 15 -30 minutes before you plan to start the exam to provide
                                                  .
plenty of time to get set-up with your proctor If your connection is completed early, you can use that time to review
material in your head and/ or perform some relaxation techniques

                                                                        .
Communication: The instructor will visit his e-mail on a daily basis As a general rule, a response by the instructor to a
query from the learner will be generated in less than 48 hours, if not sooner. In most cases assignments will be graded
within 48 hours, lengthier assignments may take up to 7 days to grade.

It is the student's responsibility to contact the primary course instructor within one week of the start date of the term to
                                                                                 .
discuss conflicting dates with multiple other course exams, presentations, etc and request changes to the course
schedule .
COURSE EVALUATIONS: Course evaluations are due upon completion of your course. These evaluations will be
                                              .                                                         .
available to you by the 7th week of the term Please locate the course evaluation link(s) at MyUSA All assigned course
evaluations will be listed and each link will take you to the course evaluation of the corresponding course. You may enter
your feedback at any time during the term after it is opened. In fact, you can return to the course evaluation and pick up
where you left off if you select "save progress & return". If you click on the "submit survey" button, you cannot return to
the evaluation. Please do not submit until the last week of your course. All course evaluations may be completed
on any mobile device.


Your anonymous feedback is valuable to this process as course evaluation and modification is dependent on your input.
Make sure your comments are constructive; course modifications depend on your feedback          .
SPECIAL NEEDS AND CONSIDERATION:_The University of St. Augustine for Health Sciences is committed to
                                                                                     .
providing students with disabilities equal access to all its programs and services To register with Disability Services and
request accommodations for a disability, contact staff at disabilitv(g)usa.edu. Accommodations are determined, on a case-
by-case basis, by the Director of Disability Services after review of medical documentation     .
MID- COURSE WARNING: The mid-term deadline for this course is October 26, 2018 . On that date, the University
                                                                                         .
Registrar will be notified of any students with a mid-term grade of less than 70% Students will receive a letter from the
registrar outlining the responsibilities. It is important that all students receiving these letters set up a meeting time with
the course instructor.

WITHDRAW DATE: The final day students may withdraw from this course is November 21, 2018. Students need to
complete the Course Withdraw form found on the MyUSA Portal.




                                                                                                                                8

                                                                                                    USA/Nguyen 000960
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 20 of 31 PageID 537


Professional Behaviors:


A maximum 10% of the final course grade may be reduced for not meeting professional behavior expectations.

EXCUSED ABSENCES AND/ OR INDIVIDUAL RESCHEDULING OF EXAMS
In addition to the policies provided in the Student Handbook, the following information outlines what is considered an
excused absence from lab or a required synchronous class session, and an appropriate reason to request taking an exam
at a time other than when it is scheduled:
         1) A major life event for the student or a member of the student's immediate family       .
                 a. Major life events include weddings, funerals, graduations, significant religious events, or other major
                     events as approved by the program director         .
                 b. Immediate family includes spouse, parent, child, sibling; spouse's parent, child, or sibling;
                     grandparents, or grandchildren     .
         2) A required work event for the student that cannot be rescheduled and potentially impacts continued
             employment.
The student must request an excused absence or different exam time as soon as the conflict is known. Lab absence
requests must go to the program director first. Synchronous class session absence requests or exam rescheduling
requests should go directly to the course faculty. Documented evidence of the conflicting event may be required        .
In the case of excused absences, faculty will assist in developing a plan to help the student make up what they missed.
That may require the student to come to campus during the week. Unexcused absences are considered to be
unprofessional behavior and grade penalties may be imposed. With any unexcused absence, students forfeit the right to
review with the instructor all or any part of the material, including test reviews, covered during that class or lab session.

UNEXPECTED ABSENCES AND/OR CONFLICTS
In the event of significant illness or other unexpected and unavoidable conflict with lab attendance, required synchronous
class session, and/ or scheduled exam, the student should notify faculty ASAP by email or phone ( see contact information
on first page of syllabus). Students should not ask classmates to relay the message for them, Failure to communicate with
faculty in a timely manner is considered unprofessional behavior and may result in grade penalties.

NOTE: If a student misses more than 20% of the total lab hours in a course, regardless of the reason, the student must
                     .
repeat the course If the accumulated absence occurs before the time to withdraw, the student may withdraw from the
course  .

Student Responsibilities:
   • Students are expected to be active learners, both as independent learners outside the classroom and as
      facilitators of questions and comments on the platform        .
    •       Each class has objectives which are stated in the syllabus. For each unit, the student is expected to prepare
            for the unit topic in advance of the online and lab sessions . This may be best achieved by using the
            objectives as a study guide to extract the relevant information from the required readings during study outside of
            classroom hours. Required readings (articles), outside of the required texts for this course, will be available on
                                      .
            reserve in the File Library

    • Required viewing of video clips are available within each unit.        References may also be listed and suggested
            readings may be available in the library. The student may find these references useful in understanding the
                                                                                                            .
            course material, or in the future, when the need arises for further information in a topic area These references
            represent resources the instructors utilized to access information on the topic area. Students will not be examined
            on information that is specifically contained in this reference material. Students will be tested only on information
            available from the required readings and or video viewing, and classroom, lab, and online activities .
    •                                                                            .
            We hope you find this course to be a rewarding learning experience We are here to help you become an
            outstanding PT and look forward to working with you throughout the semester.


                                                                                                                                9

                                                                                                       USA/Nguyen 000961
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 21 of 31 PageID 538



Each week your assignments and performance regarding preparation and professional behavior will be assessed The       .
following apply:

                    Criteria                                             Loss of point( s) each week for:
  Weekly Quizzes                                  Incorrect answer
  Production of an original exam form             Form is not original, is delinquent, or displays minimal effort in
                                                  completing
  Self-Reflection                                 Delinquent or Incomplete, displays minimal effort in completing
  Weekly documentation                            Delinquent submission of required assignment, displays minimal effort in
                                                  completing
  Lab preparedness, dress,                        Improper lab attire; forgetting of exam tools; unfamiliar with exam tests;
  professionalism                                 inappropriate dress (no lab coat or name tag, improper shoes, no socks,
                                                  etc.); punctuality; uncooperative; inappropriate display of emotion or
                                                  language; lacking professional approach to giving or receiving feedback
  Punctuality/ Attendance                         Being late for class or an unexcused absence.

An original examination form is not required for the spine examination

You will receive feedback on documentation submitted. Feedback may be generalized feedback about each case may be
posted on the notice board, personal written feedback, voice over powerpoint/voice thread or provided in a chat.

Quizzes will be graded based on the correct answers. Documentation will be graded based on effort (application of
feedback previously given, documentation follows the template, documentation is complete, and documentation follows
examples discussed in lab and online notes)   .
On the rare occasion that your online course is unavailable, please contact your instructor for further directions on access
or extensions on testing and assignments. You will be e-mailed within 4 days of your unit assignment deadline if your
assignment has not been received. If you do not hear from your instructor by four days, assume that your assignment
                                                                                               .
was received. Physical attendance in a live classroom is not expected for this online course It is expected, however, that
the learner completes all designed learning experiences in both a timely and professional manner as identified in the
course syllabus and as supported through asynchronous communications. In general, each unit is formatted to be
                                .
completed in a weekly manner The primary course interface will occur in an asynchronous manner through the use of
course e-mail and discussion boards.
Physical attendance in a live classroom is not expected for the online portion of this asynchronous course. It is expected,
however, that the learner completes all designed learning experiences in both a timely and professional manner as
identified in the course syllabus and as supported through asynchronous communications. In general, we have formatted
each unit to be completed in a weekly manner. The primary course interface will occur in an asynchronous manner
through the use of online communication such as e-mail and discussion boards found on the course website
fhttp: //de.usa.edul. As a courtesy to the learners enrolled in the class, the instructor will visit his e -mail on a daily basis
                                                                                .
during weekdays, except when Internet access is unavailable due to travel As a general rule, a response by the instructor
to a query from the learner will be generated in less than 24 hours, if not sooner.

Physical attendance will be required in the laboratory portion of this class. Please refer to the student handbook for the
policy on attendance .
PROFESSIONAL BEHAVIOR IS CONSIDERED AS FOLLOWS:
Punctuality and preparedness are required to be an efficient health care provider. For lab sessions, it is expected that
students arrive to the classroom 10 minutes before the scheduled start for lab so they are ready for a punctual start. Lab
                                                                            .
experiences may require students to set-up and clean-up the lab space This may involve gathering/returning equipment
from closets or another location, setting up/ cleaning a treatment area or other tasks that would need to be performed to
                                     .
have a safe classroom environment Students arriving at the published start time will be considered late. Students should
not leave the lab at the end of the day until excused by the faculty after equipment is stored and the room is cleaned up      .
Up to 10% of the final course grade may be reduced for not meeting professional behavior expectations         .

                                                                                                                               10

                                                                                                    USA /Nguyen 000962
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 22 of 31 PageID 539


    •Attendance is mandatory to all required course activities (mandatory chats, exams and on-campus lab sessions).
     Exceptions may be made ONLY with prior arrangement AND going through the appropriate chain of command.
                                                                           .
     Please see the Student Handbook for policies and procedures Tardiness is included in absent time.
   • Late    Assignments:
           o Learners are responsible for all missed or incomplete work. Late assignments are subject to a penalty. In
               certain cases an extension may be granted. Please contact your instructor with any extension requests.
  • NO make-up exams will be given except in the case of death or extreme illness.
  • Students MUST BE prepared for class and/ or laboratory activities in all cases. See student handbook for
     acceptable attire.
  •  The                                                                               .
           Practical Exams must be passed with a minimum proficiency of 80% Safety requirements must be met at a
                                 .
     100% competency level If a re-take of the practical exam is deemed necessary, see the Student Handbook for
     details.
  • Punctuality and preparedness are mandatory         .
  • NO CELL PHONES are allowed on (not on, nor on vibrate) in class            .
                                .                                              .
  • Cheating is not allowed See the Student Handbook for definition If you share information regarding a written
     and/ or practical exam, you will be referred to the Professional Misconduct committee and/ or receive an F in the
     course. As students at the University of St. Augustine, you are required to uphold academic honesty in all
     aspects of this course. You are expected to be familiar with the letter and spirit of the standards of conduct
     outlined in the USA Honor Code. "
  • If a student wants to meet to discuss an exam, it must be arranged within 1 week of the exam review. All
     requests for meetings, should be e-mailed to the Instructor.
  •  Laptop   computer policy :
          o Laptop computers may be used in this course, if they are used appropriately in class. If the instructor
               deems that they are being used inappropriately or for the purposes of the course discussion, their use
               may be discontinued    .
  • It is expected that you will complete all assignments at the graduate school level.
  • Students are expected to be active learners, both as independent learners outside the classroom and as
     facilitators of questions and comments on the platform.
MANDATORY CHATS:
  • Dates and times are listed in the course schedule for Mandatory Chats for Mock Clinic
  • You are expected to be present and participate in all chats. Missing a chat or being tardy will be deemed an
     unexcused absence unless prior arrangements are made. The first offense warrants a verbal reprimand, for a
     second offense the student will receive a warning letter (email) with a copy of that letter placed in his/ her file.
     The second offense will result in referral to the professional misconduct committee and a FINAL grade reduction
     of 5%.
  • The instructor may require you to use your web cam or speak during the chat.
  • You are responsible for all information discussed in the chat      .
Late Assignments: Learners are responsible for all missed or incomplete work. Late assignments are subject to a
penalty. In certain cases an extension may be granted. Please contact your instructor with any extension requests.

Audio / Video / Media Recording: It is necessary that students receive written permission from the course instructor
regarding the audio -visual recording, transmission, or distribution of classroom lectures and discussions or lab techniques       .
Any recording of lectures or class presentations should be authorized solely for the purpose of individual study or ADA
accommodations. Such recording may not be reproduced or uploaded to publicly accessible web environments.
Recordings of classes or of course materials may not be exchanged or distributed for commercial purposes, for
compensation, or for any other purpose other than individual study.

Attendance:
    •                                                                                                             .
        Attendance is mandatory to all required course activities (mandatory chats, exams and on-campus lab sessions) Exceptions
                                                                                                       .
        may be made ONLY with prior arrangement AND going through the appropriate chain of command Please see the Student
                                            .
        Handbook for policies and procedures Tardiness is included in absent time  .
Academic Integrity:
      The University recognizes the principles of honesty and truth as fundamental to ethical business dealings and to a
      vibrant academic community of faculty and students. All members of an academic community shall be confident
      that each person's work has been responsibly and honorably acquired, developed and presented. The work that a

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                                                                                                    USA/Nguyen 000963
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 23 of 31 PageID 540


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        student submits shall be a fair representation of his/ her ability, knowledge and skill The University expects
        students to respect and exhibit these principles as they form the basis of the quality of the institution and the
                                                                                                                .
        quality of USAHS's graduates. The academic integrity policy is clearly defined in the student handbook Penalties
        for not following this policy could range from a zero on an assignment to dismissal from the University.

        Specifically related to this course, there is expected to be no sharing of information about the practical exams, no
        use of cell phone or other electronic device during the examinations, and no sharing of portfolios with future
                 .
        students Any student found cheating on an examination would be referred to the professional misconduct
        committee.


Plagiarism and Citation of Sources: Academic honesty is expected of all students. It is expected that all student work
                                                                                                            .
will be that of the student's, or it will be cited with a source if it is the work of another author or scholar Plagiarism
occurs when a student uses another person's ideas or words without properly citing the source of that material. A
graduate student it is expected to have to properly cite their sources and to know what constitutes plagiarism. If you are
not absolutely sure what constitutes plagiarism, visit the websites:
http: / / sia.ucdavis.edu / files / plaqiarism.pdf and http: / / bulletin.qeorqetown.edu / regulations / honor /


                                    .
Most courses at the University of St Augustine require students to follow the style guidelines of the American
Psychological Association ( APA ) EXCEPT DPT students, who use American Medical Association ( AMA). Both styles have
publications available to assist the student in conforming to these styles. These manuals are available in print at each USA
campus Library. Students can also access the full AMA Manual of Style publication and APA Style Central online through
the USA Writing Center. The Writing Center also provides online style guides for both these citation styles:
https: // mv.usa.edu /ICS / Student Services/ Writino Center / Referencinq.inz.

Self-Citation: When students use their own work in current or subsequent course assignments, the citation must be
formatted with the student as a primary author and previous coursework as unpublished papers.

NOTE: Instructors are trained to detect work that does not appear to be the original work of a student. This is done
through the use of web search engines or library database tools as well as any number of plagiarism detection
           .
applications If a student is found to have submitted a plagiarized work the result may be a failing mark for the
assignment. Additionally, the faculty member may report the offense to university administration for further action as
found in the universities policies on academic dishonesty.
It is expected in Musculoskeletal II: Mock Clinic that each student will turn in their own work. ANY sharing of Plan of
Care assignments with students in past, present or future classes is considered cheating and will result in referral OF
BOTH STUDENTS to the Professional Misconduct Committee.


ONLINE COURSE WRITING:
All writing for this course (bulletin board postings, emails and submitted assignments) should reflect the attributes of graduate-
level academic writing, which include clarity, precision and power. Please check all work for errors in spelling, punctuation and
                             .
mechanics before submission Please bring all errors in the course, or in any communication, to the attention of the course
instructor.

The voice of writings within discussion areas should be reflective and in the first person as if conducting a casual or
scholarly conversation among colleagues and peers. Normally, first person present tense is not permitted in graduate
                                                         .
writing for formal papers and other written assignments In this course (unless advised otherwise), a first -person style of
writing is permissible and preferred for discussion areas. To promote conversation, we would like to see phrases like, "I
think", "I believe" and tense language like "today" or last semester." However, formal written papers and assignments
should follow academic writing standards, which is typically in third-person, unless otherwise specified.
All assignments within the online course have specific due dates. You will be e-mailed within 4 days of your unit
                                                               .
assignment deadline if your assignment has not been received When submitting assignments online, you can check the
Assignment Submission area or the Gradebook within Blackboard to confirm submission details. If you do not hear from
your instructor within 4 days, assume that your assignment was received   .
                                                                                                                         12

                                                                                                 USA/Nguyen 000964
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 24 of 31 PageID 541


Physical attendance in a live classroom for lectures and other activities within Blackboard is not expected for this online
course. It is expected, however, that the learner completes all required learning experiences in both a timely and
professional manner as identified in the course syllabus and as supported through the online tools within Blackboard. In
general, each unit is formatted to be completed within a weekly time period. The primary course activities are designed to
be completed asynchronously, though some synchronous activities may be made available, but will generally be recorded
                                                   .
for students who could not attend the live activities




                 Learning is not a top- down process. Each of us shares in the responsibility
         of educating and being educated. Students are expected to make positive contributions that
                             foster a professional, analytic atmosphere. Healthy
                    debate is encouraged, but students must remain mindful that remarks
                         that demean others and / or their opinions are not tolerated.




                                                                                                                        13

                                                                                               USA/Nguyen 000965
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 25 of 31 PageID 542


COURSE SCHEDULE / OUTLINE:
All assignments are due as listed below. The syllabus dates and times are considered correct and will over- ride
any platform date issues. This course begins on September 6, 2018 . The Unit start and finish dates can be found
below (assignment due dates are subject to change and students will be informed of any due date changes on the
Message section of the platform. LAB DATES WILL NOT CHANGE):




                                                 September 2018
                                                                   tig
                                                                                  Thurs
                                                                                                              wmmsm                           .
                        s§t             M        Tuesday                      W                     Friday            ''
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                                                                                                                           -   y’   l   a may
                                                                                                                                        mmm

 2                                 3                                     5        6                            8
                                                                                  Semester                     Halt Way Exam 8:00am on
                                                                                  Begins                       ProciorU
                                            11
 9                                 10       Mock: due at 8:00am          12       13         14                15
                                            eastern time                                     Mock :
                                                      Quiz #1                                Quiz ¥l due at
                                                      Discussion                             8:00am eastern
                                                      #1
                                                                                             time
                                            18
 16                                17        lock :                      19       20         21                22
                                                 Quiz #3 due at                              Mock :            Mock 1:00pm -- 5:00 pm
                                                 8:00am eastern                              Quiz #4 due at    Heuro Lais
                                                 time                                        8:00am eastern
                                                                                             time              Parser copy of revised Mock
                                                 Mock Clinic                                                   Clinic course goals due in
                                                 Course goals                                                  lab at 8:00am eastern.
                                                 due by 8:00am                               Spine Quiz due
                                                 eastern                                     at 11:55 pm
                                                 (uploaded to
                                                                                             eastern
                                                 platform


23                                 24       25                           26       27         28                29
Mock 8:00-12ncon                            Spine POC due at
Spine Lab ;                                 8:00am eastern
Self -Reflection due at the end             time
of lab. Bring your computer to
lab to complete,

   p rrh 5:00pm Shoulder
1:0|
Examination Lab
    Original Lab Form due at
    the beginning of lab §
      (uploaded and two paper
      copies)
 #    Self-Reflection due at the
      end of lab. Bring your
      computer to lab to
      completeto.;:;Q C:M
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Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 26 of 31 PageID 543



                                                                                   October 2018
                        su                                           M            T                 W          TH           F
                                                                1        2                     3           4        5                     6
                                                                                                                    *    Shoulder POC
                                                                                                                         due at 8:00 am
                                                                                                                         eastern time
                                                                                                                    *    Upload final
                                                                                                                         copy of mock
                                                                                                                         goals to the
                                                                                                                         platform by

7                                                               8        9                     10          11       12                    13
                                                                         Mock:                                                            Mock 8:00-12noon
                                                                         Shoulder                                                         Elbow examination lab
                                                                         Assignment #2 due                                                »    Original Lab Form due at
                                                                         at 8:00am eastern
                                                                                                                                                             ...   .   .. .   . .




                                                                                                                                               copies)
                                                                                                                                               Self-Reflection due at
                                                                                                                                               ttj0                tii :
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                                                                                                                                               your compter to lab to
                                                                                                                                               complete.
                                                                                                                                               Place a final paper
                                                                                                                                               copy of Mock Goals in
                                                                                                                                               Mock folder
14                                                              15       16                    17          18       19                    20
Mdck: 8:00 12Hoon /
                »                               •
                                                                         Mock                                       Mock:
Wrist/Hand Examination: Lab                                              Elbow POC due at                           Elbow
* 0rigmaf Lab :Form dtfeMm
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     .          :                                           •

                                                                         8:00 arn                                   Assignment #2
    febegirniingrdflab:- m;-                    '



                                                                                                                    due at 11:55 pm
                                                    ;
         (Cjpfoaded andfwo paper ;                      ;   .

         copes)
«        Setf-Reffeoton cue at foe
         aid of lab. Bring your
         computer to lab to
         complete       .
21                                                              22       23                    24          25       26                    27
                                                                              Wnst/Hand POC    Mock Chat                                  Mock Midterm
                                                                              due at 8:00 am   8:00 pm                                    12noon ~ 5:00pm

28                                                              29       30                    31
Midterm POC due at                                                       ®    Midterm
 8:00am                                                                       Discussion
          i
 Moc|:00|l2hopo A
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                                                                              Initial Dost
Foot/Ankle Exam Lab                                                           due at
. : fopriginal Lab Formidue. at . . :
 *                                                                            8:00am
       thebeginnir oflab
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     l to|iies|fo; - A A - c .r
     '              '
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                                    '

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                                                                              eastern

                                                                              Midterm self -
• end
  Self-Reflection due at the
       of lab. Bring your
                                                                              reflection due
                                                                              at 8:00am
         computer to lab to
         complete.                                                            eastern time

                                                                                                                                                                   15

                                                                                                                                  USA/ Nguyen 000967
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 27 of 31 PageID 544



                                        November 2018
mm
iMimXSf                  M          Tuesday              W       TH        Friday                Saturday
     '
 '




                                                             1        2                 3
                                                             Midterm
                                                             Diseussi Foot/ Ankle
                                                             on Final Assignment due
                                                             Post     at 3:00 am
                                                             due at   eastern time
                                                             8:00am
                                                             eastern
 4                  5           6                   7        8                          10
                                Foot/Ankle POC                                          Mock 8:00-12noon
                                due at 8:00 am
                                eastern                                                           Original Lab form
                                                                                                  due; at;tlie;D fnnIiig
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                                                                                                  of lab (uploaded and
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                                                                                                  due at the end of
                                                                                                  lab.; Bring your: f .V -
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                                                                                                  complete   .
                                                                                        1:00 — 5:00 pm
                                                                                        Hip Examination Lab ;;;;
                                                                                             #    OriginalLab Fomi v       :

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                                                                                                  of lablupfoaclSaitd

                                                                                             #    Self-ReftoctegY
                                                                                                  due at the end of
                                                                                                  lab; Bring your
                                                                                                  computer to lab to
                                                                                                  complete.ggY

 11                 12          13                  14       15       16                17
Mock SiOG-12noon                Knee POC due at
Review LabYYY YYY               8:00am eastern
             '




                                time
 18                 19          20                  21       22       23                24
                                     Hip POC due
                                     at 8:00am
                                     eastern time

 25                 26          27                  28       29       30
                                                                      Acute Care Quiz
                    Mock Chat                                         due at 11:55 pm
                    itffpm                                            eastern




                                                                                                                 16

                                                                                 USA/Nguyen 000968
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 28 of 31 PageID 545



                                                 December 2018
        .
                                       Hi
            Sunday                 M        Tuesday               W       TH             Friday              Saturday
                                                                                                    1
                                                                                                    Mock Practicals and Plan
                                                                                                    of p- are
                                                                                                    7:0b :
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                                                                                                    ( schedule to belpubished
                                                                                                                             .



                                                                                                    with specific examination
                                                                                                    time and patient time for
                                                                                                         ,




                                                                                                    each student.
2                             3         4                    5                      7               8
Mock 7:00-12noon                        Acute Care POC
(schedule to be published               due a? 8:00am                                               Mock: Practicaland Plan
witti Specific examination              eastern time                                                of Care Retake |y§times
time and patient time for .                                                                         will be determined based
each student)                                                                                       on inst uctor availability

Mock 1:00am - 5:00pm                    Mack: Practical
Acute Care Examination                  re cation plans
                                             '


Lab                                     cue for any
         Or ginal Lab Form              Mueric that needs
         due at the                     a practical retake
         beginning ofiab                oy caMarn
         (uploaded and two              eastern . tee
         paper copies)                  cirecuonc cn the
Seif-Reflection                         Maiionm
     #   Due at fte end.of
         lab. Bring your
         computer to lab to
            complete.

9                             10        11                   12       13            14              15
Mock                                    Mock: Final Self              Final Finals
Practical and plan of care              Reflection due at                                                           ,




retakes - times will be                 8:00am eastern                S
determined based on
instfifctor
          availability) My


16                            17        18                   19       20
                                                             Finals   Mock
Finals                                  Finals                        Practical
                                                                      and plan o?
                                                                      care
                                                                      retakes
                                                                      Third
                                                                      Attempts
                                                                      Grades.




                                                                                                                        17

                                                                                              USA/Nguyen 000969
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 29 of 31 PageID 546




                         Exhibit C
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 30 of 31 PageID 547



                    UNIVERSITY                  OF    S T . AUGUSTINE

                            Instructor Academic Appeal Report
    Course:                                       Instructor:
    Student Name/ID:     luM       MH0.
    Final Grade:        F
    All course grades ( please comment on grade weighting if applicable ):
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       •
           Exams
           Qmases-          imBr /MHL 731 ./w^/Jjie
                                               7M? Mtf*     -
       •
       •
           Practical*
           Assignments (S ). t>   %
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                                            rtl/SiJ/M f?]        // /!.(
                                                                                -
                                                                                    *)               =0 4
    Student meetings: ( ie did the student meet with you ? If so how often , what was the
    outcome?

        Ifirt t              dfW                                              pnir /7
        ihe tol

   Professional Behavior Comments :




   Excused absences( # ):              Unexcused ( # ):              Tardiness ( # ):

   Additional Comments/Concerns/Extenuating Circumstances ( sickness, family issue, etc .. . ):

     WHil Imt                                                    * Tiwl
                                                                ft




   Please complete this form and send to appeals committee chair and registrar by the
   Thursday prior to semester break .




                                                                                        USA/Nguyen 001096
Case 3:21-cv-00173-MMH-MCR Document 53-2 Filed 08/10/22 Page 31 of 31 PageID 548


                                                                             LuUtyuuW
  After the midterm feedback was given, I sat and chatted with the student about his
  performance. He stated that he knew he did not do well on the midterm and has been doing
  everything in his power to improve his performance. He showed me his organizational items for
  studying and verbally indicated he had been on campus practicing his techniques .

  The student was instructed to calculate his final grade to see if it was mathematically possible to
  pass the course . The student said he was going to talk to his wife as well. He indicated at this
  time he was aware he was missing a few assignments for the course and stated he would turn
  them in.

  I talked the student about his options of withdrawing and entering the new curriculum. I
  encourage the student to reach out to his adviser as well. Entering the new curriculum with add
  approximately one year to his schooling. We talked about if he continued in the course and was
  not successful on the final practical or plan of care that he would receive an F in fail the course.
  One F at the University would mean that he would be dismissed and if he chose to, he could go
  through the appeals process. The student decided to stay on the course.

  The day prior to our final exam I received a phone call from the student. He was having a
  medical issue and did not believe he be able to take the Practical on the next day. He saw his
  medical doctor and a specialist. He had a doctor's note to verify that he was under their care. I
  did reach out to him to check on him, and he was grateful for the extension of the practical.

  I met with a student in person the following week to discuss but upcoming practical and answer
  any questions he had.

  Student took his final practical with the retake students. After his practical, he wanted to know
  his score as he told myself and his grader that if he did not pass, there was no reason to write
  the plan of care because he would fail the course. The grader added up the Practical score, and
  it was not a passing score. The grader gave objective feedback to the student based on his
  performance.

  The student declined to write the plan of care and became emotionally upset. He kept repeating
  “I did everything I could” -

  The student was visibly upset and very emotional. He became slightly argumentative about the
  feedback he received from his practical.

  Student gathered his belongings and I escorted him to Dr. Gray's office.




                                                                                    USA/Nguyen 001097
